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 1   Anton A. Ewing (not an attorney)
2    3077 B Clairmont Drive, #372
     San Diego, CA 92117
3
     619-719-9640 ( do not telemarket)
4
                                                                                        FILED
5                                                                                       Jan 31 2024
                                                                                 CLERK, U.S. DISTRICT COURT
6    Plaintiff pro se                                                         SOUTHERN DISTRICT OF CALIFORNIA
                                                                              BY     s/ RodrigoContreras DEPUTY
 7

 8                       UNITED STATES FEDERAL DISTRICT COURT
9
                              SOUTHERN DISTRICT OF CALIFORNIA
10

11   Anton A. Ewing,                                             Case No.: '24CV0206 LL                 SBC

12                     Plaintiff,
13                                                               COMPLAINT
     vs.
                                                                  1. 47 U.S.C. §227 (TCPA)
14
                                                                  2. PC §637.2 / 632.7 (CIPA)
     SYNERGY CAPITAL I, LLC, also
15                                                                3. CIVIL CODE §1770(A)(22)(A)
     known at Venture 4 75
16
                       Defendant
17

18

19            Plaintiff Anton A . Ewing (herein "Plaintiff' or "Ewing") brings this civil

20   Complaint for money damages and injunctive relief, demanding a trial by jury,
21
     against Defendant SYNERGY CAPITAL I, LLC (doing business as "Synergy
22

23   Capital l ") 1 and also known as Venture 475 to stop said defendant from violating
24

25

26
      1
       Plaintiff hereby puts Brandon Cimorelli on notice that they are going to be named as a defendant as soon as
27
     discovery establishes a good faith belief that he is vicariously liable. Please review the Uniform Fraudulent Transfer
     Act.
28
     COMPLAINT I. 47 U.S.C. §227 (TCPA) 2. PC §637.2 / 632.7 (C IPA) 3. CIVIL CODE § 1770(A)(22)(A)-
      l                                                                                                                       2~V
     Case 3:24-cv-00206-AGS-SBC Document 1 Filed 01/31/24 PageID.2 Page 2 of 38



     the Telephone Consumer Protection Act and the Telemarketing Sales Rule by
2
      sending telemarketing text messages and calling with prerecorded artificial voice
3

4    messages to Plaintiffs personal residential cellular phone (ending in -9640), which
5
      is registered on www.donotcall.gov (the National Do Not Call Registry) without
6

7     permission and without consent of Plaintiff. Plaintiff Ewing, for this Complaint,

 8   alleges as follows upon personal knowledge as to himself and his own acts and
9
     experiences, including investigation conducted by Plaintiff. Plaintiff is suing to
10

11    stop Defendant's practice of sending text messages and callings using an
12
     "automatic telephone dialing system" ("ATDS") to the cellphones of consumers in
13

14    San Diego county without their prior express consent by obtaining an injunction

15
      prohibiting violation of the TCPA; (2) stop Defendant's practice of sending
16
      repeated text messages to consumers on the National Do Not Call Regist1y, which
17

18    includes Plaintiff; (3) obtain an injunction prohibiting Defendant's continued
19
      illegal efforts to send text messages and make harassing calls to consumers,
20

21    including Plaintiff; and (4) obtain redress for Plaintiff Ewing who was injured by

22    Defendant's conduct.
23
             In describing the importance of the TCPA, Senator Hollings, the TCPA's
24

25

26

27
      2
        See 2 1cv-01764-G PC-BLM at Page ID. I in ECF No. I, Trujillo vs. Encore live, LLC
28
      COMPLAINT I. 47 U.S.C. §227 (TCPA) 2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE § 1770(A)(22)(A)-
      2                                                                                                24CV
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      sponsor, said "I echo Supreme Court Justice Louis Brandeis, who wrote 100 years
 2
      ago that 'the right to be left alone is the most comprehensive of rights and the one
 3

 4    most valued by civilized man."' 137 Cong. Rec. 30.821 (1991).
 5
                                                        PARTIES
 6

 7        1. Plaintiff Anton A. Ewing is a natural person as defined by 47 USC §153(39)

 8
               and a resident of San Diego, California at all times relevant to this action.
 9
              Plaintiff was present in San Diego at all times relevant to this action and was
10

11            also the owner and sole user of personal, private residential cellular phone
12
              number 619-719-9640 3.
13

14        2. Plaintiff has been repeatedly called and texted by SYNERGY CAPITAL I,
15
              LLC, directly, without consent, permission or authority, all in direct
16
              violation of express commands by Plaintiff to stop, cease and desist and by
17

18            vi1tue of registration on www.donotcall.gov as well as Plaintiffs express
19
              demands directly to Defendant to stop all future calls and texts.
20

21        3. Defendant SYNERGY CAPITAL I, LLC is a Delaware limited liability

22
              company, registered in New York and conducts business throughout this
23
              District, in San Diego, California. Defendant SYNERGY CAPITAL I, LLC
24

25

26

27    3
        For clarity, this number is not a hardwired landline. This number is cellular phone. No cause of action under PC
      §632 is alleged. Arguing that cellular calls require "confidential communications" is fri volous.
28
      COMPLAINT I. 47 U.S.C. §227 (TCPA) 2. PC §637.2 1632.7 (CIPA) 3. CIVIL CODE§ l 770(A)(22)(A) -
      3                                                                                                                    24CV
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            is a "person" as defined by 4 7 USC § 153(39). Defendant is in the business
 2
            of selling merchant cash advance services through its employees and
 3

4           executive officers. Defendant uses the wires of the United States to harass
 5
            and annoy DNC registered telephone owners with their solicitation calls to
6

 7          sell sham debit and merchant cash advance services to unsuspecting victims

 8          in California.
9
        4. Defendant SYNERGY CAPITAL I, LLC is located in New York, New
10

11          York. Plaintiff is only suing SYNERGY CAPITAL I, LLC and no other
12
            persons or pa11ies, named or unnamed, whether as Does or otherwise.
13

14          Defendant's attorneys should not be confused here. Plaintiff repeats himself

15
            again, there is only ONE (1) defendant named in this civil lawsuit and
16
            Plaintiff is specifically alleging that Defendant directly engage in the illegal
17

18          and offending conduct.
19
                                 JURISDICTION AND VENUE
20

21      5. This Court has federal question subject matter jurisdiction over this action

22
            under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer
23
            Protection Act, 47 U.S.C. §227 ("TCPA"). This is not a "diversity" of
24

25          citizenship case. Mims v. Arrow Fin. Servs. , LLC, 565 U.S. 368, 372 (2012)
26

27

28
     COMPLAINT I . 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. C IVIL CODE § l 770(A)(22)(A) -
     4                                                                                                      24CV
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         6. This Court has personal jurisdiction over the Defendant since the Defendant
 2
            conducts business in this District and specifically marketed to Plaintiff
 3

 4          within this District relating to the business that it conducts here. Venue is
 5
            proper in this District because Plaintiff resides in this District and the events
 6

 7          leading to this case occurred in this District.

 8       7. The Honorable District Judge William Q. Hayes, on 9/22/2022, in Ewing vs.
 9
            CSolar, 22cv00720-WQH, at ECF No. 8, entered an order granting
10

11          Plaintiff's motion for default judgment, imposing $11,000 against CSolar.
12
            Imp011antly, the Complaint in that case is substantially similar to this
13

14          Complaint, the only real differences being the names of the defendants, the
15
            dates, times and telephone numbers called from and the fact that CSolar was
16
            selling solar panels while Defendant SYNERGY CAPITAL I, LLC is sellin
17

18          loan and cash advance services. Since this Court was able to find that all the
19
            elements of the TCPA causes of action were well-plead, that renders any
20

21          motion to dismiss this Complaint frivolous, harassing and solely for the

22
            purpose of delay, a violation of 28 USC § 1927. Plaintiff's Complaint was
23
            able to be read, understood and ruled upon in Plaintiff's favor in the CSolar
24

25          case by the Honorable Judge Houston. Defendant cannot credibly argue that
26
            the Complaint in Ewing vs. SYNERGY CAPITAL I, LLC is so bad that it
27

28
     COMPLAINT I . 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CI PA) 3. C IVIL COD E§ I 770(A)(22)(A) -
     5                                                                                                       24CV
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             must be dismissed when in fact Judge Houston was able to figure it out
 2
             rather cogently.      Judge Houston's analysis should be read by Defendant's
 3

4            attorneys to assist them.
 5
          8. The Court has ancillary and supplemental jurisdiction, in its discretion, over
 6

 7           the attendant state law claims that are part of a common nucleus of operative

 8           facts. Plaintiff is suing for violation of CIPA, PC §632. 7 et seq. - illegal eel
 9
             phone recording, Civil Code § l 770(a)(22)(A)- illegal prerecorded voice

11           message to a cell phone without consent and without a prior live operator
12
             introduction.
13

14        9. Defendant SYNERGY CAP ITAL I, LLC has purposefully directed its

15
             activities into California and has knowingly, intentionally and willfully
16
             recorded its conversations with Plaintiff without disclosing the fact of
17

18           recording at the beginning of the calls. Area code 619 is entirely within San
19
             Diego County.
20

21                                            INTRODUCTION

22
          10. As the Supreme Court recently explained, "Americans passionately disagre
23
             about many things. But they are largely united in their disdain for robocalls.
24

25           The Federal Government receives a staggering number of complaints about
26
             robocalls- 3. 7 million complaints in 2019 alone. The States likewise field a
27

28
      COMPLAINT I . 47 U.S.C. §22 7 (TC PA)   2. PC §637.2 / 632.7 (C IPA) 3. C IVI L CO DE§ I 770(A)(22)(A) -
      6                                                                                                          24CV
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             constant barrage of complaints. For nearly 30 years, the people's
 2
             representatives in Congress have been fighting back." Barr v. Am. Ass'n of
 3

 4           Political Consultants, No. 19-631, 2020 U .S. LEXIS 3544, at* 5 (U.S. July
 5
             6, 2020). Plaintiff is also doing his job to help stop harassing and annoying
 6

 7           telemarketers throughout the country by filing these lawsuits.

 8
         11. The National Do Not Call Registry allows consumers to register their
 9
             telephone numbers and thereby indicate their desire not to receive telephone
10

11           solicitations at those numbers. See 4 7 C.F .R. § 64.1200( c)(2). Plaintiff has
12
             done registered his phone.
13

14       12. A listing on the Registry "must be honored indefinitely, or until the

15
             registration is cancelled by the consumer or the telephone number is
16
             removed by the database administrator." Id.
17

18       13. When Congress enacted the TCPA in 1991, it found that telemarketers
19
             called more than 18 million Americans every day. 105 Stat. 2394 at § 2(3 ).
20

21       14. By 2003, due to more powerful autodialing technology, telemarketers were

22
             calling 104 million Americans every day. In re Rules and Regulations
23
             Implementing the TCPA of 1991, 18 FCC Red. 14014, ,I,I 2, 8 (2003).
24

25       15. The problems Congress identified when it enacted the TCPA have only
26
             grown exponentially in recent years.
27

28
      COM PLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE§ I 770(A)(22)(A) -
      7                                                                                                    24CV
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         l 6. Industry data shows that the number of robocalls made each month
2
             increased from 831 million in September 2015 to 4.7 billion in December
3

4            2018-a 466% increase in three years.
5
         17. According to online robocall tracking service "YouMail," 4 billion
6

7            robocalls were placed in September 2021 alone, at a rate of 131.1 million

8            calls per day. www.robocallindex.com. Plaintiff still receives nearly a doze
9
             harassing and annoying robocalls each and every day from unscrupulous
10

11           businesses trying to sell auto repairs, life insurance, solar panels, credit
12
             repair, student loan assistance, and merchant cash advances to name just a
13

14
             few. This must stop.

15       18. The FCC also has received an increasing number of complaints about
16
             unwanted calls, with 150,000 complaints in 2016, 185,000 complaints in
17

18           2017, and 232,000 complaints in 2018. FCC, Consumer Complaint Data
19
             Center,www.fee.gov/consumer-help-center-data. It is unfo11unate that
20

21
             making a complaint to the FCC actually results in nothing being done. The

22           FCC simply does not have the resources to go after telemarketers.
23

24

25

26

27

28
      COMPLAINT I. 47 U .S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. C IVIL CODE§ I 770(A)(22)(A) -
      8                                                                                                     24CV
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         19. "Robocalls and telemarketing calls are currently the number one source of
 2
             consumer complaints at the FCC." Tom Wheeler, Cutting off Robocalls
 3

 4           (July 22, 2016), statement of FCC chairman. 4
 5
         20."The FTC receives more complains about unwanted calls than all other
 6

 7           complaints combined." Staff of the Federal Trade Commission's Bureau of

 8           Consumer Protection, In re Rules and Regulations Implementing the
 9
             Telephone Consumer Protection Act of 1991, Notice of Proposed
10

11           Rulemaking, CG Docket No. 02-278, at 2 (2016). 5
12
         21. In recent years a troubling trend has surfaced in the merchant cash advance
13

14           industry, cold calling consumers soliciting their services without their
15
             consent, including calls that are being placed to consumers that registered
16
             their phone numbers on the DNC.
17

18       22. This debt resolution telemarketing trend has resulted in consumers,
19
             including this Plaintiff, being bombarded by unsolicited solicitation calls
20

21           without their (or his) consent and in violation of the TCPA, in violation of
22           CIPA, and Civil § I 770.
23

24

25

26
     4
       https://www.fcc.gov/news-events/blog/201 6/07 /22/cutting-robocalls
27   5
       https://www.ftc.gov/system/fi les/documents/advocacy_ documents/comment-staff-ftc-bureau-consumer-protection-
     federal-comm unications-comm ission-rules-regulations/ l 606 16robocallscomment.pdf
28
     COMPLAINT I. 47 U.S.C. §227 (TCPA) 2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE§ l770(A)(22)(A) -
     9                                                                                                                 24CV
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            23. The initial part of the call was a prerecorded voice, then some time past, an
2
               then Defendant's employee "Brandon Cimorelli" admitted to Plaintiff, at the
3

4              end of the 1/31/2024 telemarketing call, when asked by Plaintiff, that
5
               Defendant does in fact record all of its solicitation calls. Brandon Cimorelli
6

7              transferred the call to another male person who attempted to justify the

8              illegal act of recording by adding that they record for "training and quality
9
               control purposes" but that additional fact is not an excuse for violating
IO

11             CIP A. Any and all calls into California must disclose, at the beginning of
12
               the call, that said call is being recorded. Waiting until the very end of the
13

14
               call to admit, when asked, that it was recorded is too late. Liability for

15             recording attaches when there is a call, to a cellular phone, where there is a
16
               reasonable expectation of privacy and disclosure of the fact of recording
17

18             does not occur at or near the beginning of said call. Cellular phones do not
19
               require confidential private information to be exchanged to be protected by
20

21
               CIPA.

22
            24. In an action under the TCPA, a plaintiff must only show that the defendant
23
               "called a number assigned to a cellular telephone service using an automatic
24

25             dialing system or prerecorded voice." Breslow v. Wells Fargo Bank, NA.,
26

27

28     COMPLAINT     I. 47 U .S.C. §227 (TCPA)   2. PC §637.2 / 632.7 ( CIPA) 3. CIVI L CODE§ 1770(A)(22)(A)-
       IO                                                                                                       24CV
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            857 F. Supp. 2d 1316, 1319 (S .D. Fla. 2012), affd, 755 F.3d 1265 (11th Cir.
2
            2014).
3

4        25. The Federal Communications Commission ("FCC") is empowered to issue
5
            rules and regulations implementing the TCPA. According to the FCC's
6

7
            findings, calls in violation of the TCP A are prohibited because, as Congress

8           found, automated or prerecorded telephone calls are a greater nuisance and
9
            invasion of privacy than live solicitation calls, and such calls can be costly
IO

II          and inconvenient.
12
         26. The FCC also recognized that wireless customers are charged for incoming
13

14
            calls whether they pay in advance or after the minutes are used. Rules and

15          Regulations Implementing the Telephone Consumer Protection Act of 1991,
16
            CG Docket No. 02-278, Report and Order, 18 FCC Red 14014 (2003).
17

18       27. The TCPA regulations promulgated by the FCC define "telemarketing" as
19
            "the initiation of a telephone call or message for the purpose of encouraging
20

21
            the purchase or rental of, or investment in, property, goods, or services." 47

22          C.F.R. §64.1200(f)(l2). In determining whether a communication
23
            constitutes telemarketing, a court must evaluate the ultimate purpose of the
24

25          communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814,820 (8th
26
            Cir. 2015).
27

28     COMPLAINT   I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. C IVIL CODE§ I 770(A)(22)(A) -
       II                                                                                                     24CV
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          28. "Neither the TCPA nor its implementing regulations 'require an explicit
2
             mention of a good, product, or service' where the implication of an improper
3

4            purpose is 'clear from the context."' Id. (citing Chesbro v. Best Buy Stores,
5
             L.P., 705 F.3d 913,918 (9th Cir. 2012)).
6

7         29."'Telemarketing' occurs when the context of a call indicates that it was

 8
             initiated and transmitted to a person for the purpose of promoting property,
9
             goods, or services." Golan, 788 F.3d at 820 (citing 47 C.F.R. §
10

11           64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules and Regulations
12
             Implementing the Telephone Consumer Protection Act of 1991, 18 F .C.C.
13

14           Red at 14098 i1141, 2003 WL 21517853, at *49).

15
          30. The FCC has explained that calls motivated in part by the intent to sell
16
             property, goods, or services are considered telemarketing under the TCPA.
17

18           See In re Rules and Regulations Implementing the Telephone Consumer
19
             Protection Act of 1991, 18 FCC Red. 14014, ili1139-142 (2003 ). This is true
20

21           whether call recipients are encouraged to purchase, rent, or invest in

22
             property, goods, or services during the call or in the future. Id.
23
          31. In other words, offers "that are part of an overall marketing campaign to
24

25           sell property, goods, or services constitute" telemarketing under the TCPA.
26

27

28
       COM PLA INT   I. 47 U.S.C. §22 7 (TCPA)   2. PC §637.2 / 632.7 (CIPA ) 3. CIVIL CODE § 1770(A)(22)(A)-
       12                                                                                                       24CV
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             See In re Rules and Regulations Implementing the Telephone Consumer
2
             Protection Act of 1991, 18 FCC Red. 14014, ii 136 (2003 ).
3

4        32. If a call is not deemed telemarketing, a defendant must nevertheless
5
             demonstrate that it obtained the plaintiffs prior express consent. See In the
6

7
             Matter ofRules and Regulations Implementing the Tel. Consumer Prot. Act

8            of 1991, 30 FCC Red. 7961, 7991-92 (2015) (requiring express consent "for
9
             non-telemarketing and non-adve11ising calls").

11       33. Fmther, the FCC has issued rulings and clarified that consumers are
12
             entitled to the same consent-based protections for text messages as they are
13

14
             for calls to wireless numbers. See Satterfield v. Simon & Schuster, Inc., 569

15           F .3d 946, 952 (9th Cir. 2009) (The FCC has determined that a text message
16
             falls within the meaning of "to make any call" in 47 U .S.C. § 227(b)( l)(A));
17

18           Toney v. Quality Res., Inc., 2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014)
19
             (Defendant bears the burden of showing that it obtained Plaintiffs prior
20

21
             express consent before sending him the text message). (emphasis added).

22                                 COMMON ALLEGATIONS
23
          34. Defendant SYNERGY CAPITAL I, LLC is a loan and merchant cash firm
24

25           run by Brandon Cimorelli, selling its services throughout San Diego County.
26

27

28     COMPLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE § l 770(A)(22)(A) -
       13                                                                                                   24CV
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         35. Defendant SYNERGY CAPITAL I, LLC which conducts business using
2
            the assumed name "Synergy Cap" owns and operates the website,
3

4           www .svnergycap 1.com. Defendant Synergy Capital I, LLC is also known a
5
            Venture 475.
6

7
         36. Defendant SYNERGY CAPITAL I, LLC conducts telemarketing

 8
            campaigns to sell its services to consumers throughout southern California.
9
            As part of those campaigns, unsolicited text messages are sent to cell phones
10

11          of consumers across the state by Defendant SYNERGY CAPITAL I, LLC.
12
            Plaintiff can assert and allege this detailed fact because Defendant's
13

14
            employee, Brandon Cimorelli, expressly admitted it.

15       37. In placing unsolicited text messages to consumers, Defendant SYNERGY
16
            CAPITAL I, LLC sent multiple text messages to phone numbers that are
17

18          registered on the DNC, such as Plaintiff's number (-9640).
19
         38. In response to these text messages, Plaintiff Ewing files this lawsuit seeking
20

21
            injunctive relief requiring Defendant SYNERGY CAPITAL I, LLC to cease

22          from violating the Telephone Consumer Protection Act, as well as an award
23
            of statutory damages to Plaintiff Ewing and costs ($404 filing fee plus
24

25          service of process fees). The text messages were generic in nature and did
26

27

28     COMPLAINT   I . 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVI L COD E § 1770(A)(22)(A)-
       14                                                                                                      24CV
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             not address Plaintiff by name. The text message did not offer a way to opt
2
             out or to stop future solicitation texts.
3

4         39. Plaintiff Ewing heard a very clear "bubble popping" type sound followed b
5
             a rather long pause before the artificial-voice prerecorded message began to
6

7
             play on the call. Plaintiff was required to hit " l" to be transferred to a live

8            operator. This happened on each and every call that is the subject of this
9
              lawsuit. Many comts have held that this very same bubble popping and Ion

11           pause are highly indicative of an ATDS being used. However, the
12
             Defendant fails to comprehend that it is also violation of section
13

14
              227(b )(1 )(A) to use, and Defendant did in fact use, an artificial pre-recorded

15            voice message to obtain a subsequent transfer to a live operator employee of
16
              Defendant. Additionally, the text messages were sent via a "short code" and
17

18            not a full ten-digit telephone number. This fmther indicates that an ATOS
19
              must have been used to blast out the spam text messages.
20

21
          40.Plaintiff and Defendant do not have a pre-existing business relationship.

22            Plaintiff has never been a customer or client of Defendant's business.
23
              Moreover, Plaintiff does not even have any debt and thus could not possibly
24

25            have a need for Defendant's debt and cash advance services.
26

27

28     COMPLAINT I . 47 U.S.C. §227 (TC PA)   2. PC §637.2 / 632.7 (CIPA) 3. C IVIL CODE§ I 770(A)(22)(A) -
       15                                                                                                     24CV
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         41. Specifically, the hardware and software used by Defendant SYNERGY
 2
             CAPITAL I, LLC has the capacity to store and/or produce numbers using a
 3

 4           random or sequential number generator, and to dial such numbers, en masse,
 5
             in an automated fashion without human intervention. Defendant's
 6

 7           automated dialing equipment includes features substantially similar to a

 8
             predictive dialer in that it is capable of sending numerous text messages and
 9
             calls simultaneously, without human intervention. The distinct bubble-
10

II           popping sound and the long silent pause were, in Plaintiff vast experience,
12
             the clear indication that an ATDS robo-dialer was used by Defendant for the
13

14           calls and the use of the short code is highly indicative of an ATDS.

15
         42. The text messages were sent by Defendant with its knowledge and approval
16
             of the CEO of Defendant. Defendant SYNERGY CAPITAL I, LLC knew
17

18           about the messages, received the benefits of the messages, directed that the
19
             messages be sent, and/or ratified the sending of the messages by its
20

21           employees using Defendant's computers and software. The text messages

22
             were generic which indicates an ATDS was used by Defendant.
23
         43 . All of the text messages were sent via an A TDS at the direction and
24

25           oversight of Defendant SYNERGY CAPITAL I, LLC. Said Defendant
26

27

28
      COMPLAINT I . 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 {CIPA) 3. CIVIL CODE§ 1770(A)(22)(A)-
      16                                                                                                 24CV
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              knew about, directed, ratified, and benefitted from the solicitation text
2
              messages that it directly sent to Plaintiff.
3

4          44. Based on Plaintiff's vast knowledge and experience with these types of
5
              telemarketers, the equipment used to send the texts at issue has the capacity
6

7
              to use a random or sequential number generator in the process of storing

8             numbers from a pre-produced list or a self-generated list within the device
9
              itself for texting at a later date. 6 Plaintiff alleges that this is exactly what
10

11            Defendant SYNERGY CAPITAL I, LLC has done.
12
           45. The equipment at issue, in this case, also has the capacity to produce
13

14
              telephone numbers using a random or sequential number generator.

15            Specifically, the texting software, by virtue of being inextricably linked to a
16
              computer operating system, employing a short code, has the capacity to
17

18            generate random or sequential telephone numbers. One of Defendant's
19
              employees, Brandon Cimorelli, expressly admitted that they were using an
20

21
              "auto dialing computer" to make the calls and send out the text messages in

22            order to get California residents to buy their loan programs. Defendant earn
23
              and gets paid a commission for each loan they sell.
24

25

26

27
       6
        21-cv-0 1646-L-BLM, PagelD.6, ECF No. I , Williams vs. Zeeto, lLC (SD CA 9/20/2 1)
28     COMPLAINT I. 47 U.S.C. §227 (TCPA) 2. PC §637.2 / 632.7 (CIPA) 3. CI VIL CODE § I 770(A)(22)(A) -
       17                                                                                                  24CV
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         46. By sending unsolicited text messages as alleged herein, Defendant
2
            SYNERGY CAPITAL I, LLC has caused Plaintiff actual harm. This
3

4           includes the aggravation, nuisance, and invasions of privacy that result from
5
            the placement of such text messages, in addition to the wear and tear on his
6

7
            phone, interference with the use of his phone, consumption of battery life,

8           loss of value realized for monies he paid to his AT&T carrier for the receipt
9
            of such messages, and the diminished use, enjoyment, value, and utility of
10

11          his telephone plan. Furthermore, Defendant SYNERGY CAPITAL I, LLC
12
            sent the messages knowing they trespassed against and interfered with
13

14
            Plaintiffs use and enjoyment of, and the ability to access, his phone,

15          including the related data, software, and hardware components.
16
         4 7 .FCC regulations promulgated under the TCP A specifically prohibit
17

18          Defendant from using an artificial or prerecorded voice to call Plaintiffs
19
            Number for the purpose of advertising or telemarketing absent Plaintiffs
20

21
            prior express written consent. See 47 C.F.R. § 64.1200(a)(2) 7

22           PLAINTIFF EWING'S ALLEGATIONS DIRECTLY AGAINST
23
                         DEFENDANT SYNERGY CAPITAL I, LLC.
24

25

26

27
                    7
                      2 l-cv-02040-CAB-KSC, Page lD.4 in ECF No. I, Johnson vs. Digital Media Solutions.
28     COMPLAINT   I. 47 U.S.C. §227 (TCPA) 2. PC §637.2 / 632.7 (CIPA) 3. C IVIL CODE § I 770(A)(22)(A) -
       18                                                                                                    24CV
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         48. Defendant SYNERGY CAPITAL I, LLC called or texted Plaintiff Ewing,
2
             on his DNC registered personal cell phone, 619-719-9640, on the following
3

4            dates:
5
                 a. January 31 , 2023 from 832-734-9017 at 7:07 AM-- Call
6

7
                 b. December 29, 2023 from 832-734-9017 at 10: 19 AM - Call

8                c. December 22, 2023 from 832-734-9017 at 11 :40 AM- Call
9
                 d. December 16, 2023 from 832-734-9017 at 10:31 AM- Call
10

11               e. November 15, 2023 from 832-734-9017 at 3:49 PM-Call
12
                 f. November 14, 2023 from 832-734-9017 at 8:40 AM-Call
13

14
                 g. November 13, 2023 from 832-734-9017 at 1:43 PM-Call

15               h. November 12, 2023 from 832-734-9017 at 10:47 AM- Call
16
                 1.   November 10, 2023 from 832-734-9017 at 2:49 PM- Call
17

18               J. November 7, 2023 from 832-734-9017 at 4:28 PM- Call
19
                 k. November 2, 2023 from 832-734-9017 at 8:49 AM-Call
20

21
                 I. January 11, 2024 from 87609 at 11 :23 AM- Text

22               m. January 16, 2024 from 87609 at 8:19 AM- Text
23
          49.The above dates, times, from what number and to what number is all the
24

25            detail that is required under the TCPA. Nothing else is necessaiy at the
26
              initial pleading stage. See Rule 8 and Rule 10, FRCP. The Court is also
27

28     COM PLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (C IPA) 3. CIVIL CODE§ l 770(A)(22)(A) -
       19                                                                                                    24CV
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             respectfully requested to see each footnote and the cases that Plaintiff has
2
             cited from. While this Complaint was written by a pro per litigant, it was
3

4            effectively lifted from TCPA complaints drafted by TCPA plaintiff lawyers.
5
         50. There were, thus far, 1 1 calls (($1,500 + $1,500 +$5,000) * 11 = $88,000))
6

7
             and 2 text messages ($1500 + $1500 times 2 = $6,000) from Defendant

8            SYNERGY CAPITAL I, LLC.
9
         51. Defendant's employee Brandon Cimorelli admitted to Plaintiff that he did
10

II           not dial Plaintiffs phone number by finger, but rather using a computer
12
             software that stores and automatically dials the phone numbers without any
13

14
             input from him. "Brandon Cimorelli" stated that once a person hit's "l"

15           then the software connects or transfers the call to either him or another
16
             telemarketer in the office.
17

18        52.Replying "STOP" did not work. Plaintiff received additional subsequent
19
             text messages from Defendant SYNERGY CAPITAL I, LLC. Importantly,
20

21
             Plaintiff became enraged on each telephone call making very clear that the

22           caller must never telemarket him ever again. And yet, Defendant
23
             SYNERGY CAPITAL I, LLC keeps calling and texting to solicit Plaintiff
24

25           after being told to stop.
26

27

28     COMPLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE § 1770(A)(22)(A) -
       20                                                                                                  24CV
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         53. Spoofing the prefix of 719, or any other local prefix spoof, is a standard
2
             ATDS robo-dialing technique or practice that all telemarketers use to
3

4            attempt to increase the likelihood that a called person will answer the call.
5
             Fortunately, since the STIR/Shaken8 laws were made effective, this scam is
6

7
             now significantly attenuated but it is not stopping by any stretch of the

8            imagination.
9
          54. The pre-recorded voice message at the beginning of each telephone
10

11           solicitation call from Defendant (not a 3rd part or agent) stated: "Could you
12
             use a cash advance to help your business? Press one to be connected to one
13

14
             ofour underwriters" or similar words to that affect. The TCPA and CLRA

15           do not require a plaintiff to be able to memorize and regurgitate every word
16
             that every telemarketer states.
17

18        55. Defendant SYNERGY CAPITAL I, LLC was calling to sell its loan
19
              brokering services to Plaintiff who was in California at the time.
20

21
          56. Plaintiff Ewing registered his cell phone number on the DNC on February

22            16, 2012, for the express purpose that he would not receive unsolicited calls
23
              or text messages. Plaintiff Ewing has gone even further to pay for various
24

25

26

27
                     8 https://www.fee.gov/calI-authentication
28     COMPLAINT I. 47 U.S.C. §227 (TCPA)       2. PC §637.2 I 632.7 (C IPA) 3. C IVIL CODE § I 770(A)(22)(A) -
       21                                                                                                         24CV
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              web pages informing the world of telemarketers to not call him or else they
2
              will be sued. Moreover, Plaintiff has expressly informed over one hundred
3

4             TCPA defense attorneys, in writing, across the nation to inform their clients
5
               to not call Ewing for solicitation. At the bottom of each email Plaintiff also
6

7
               has the following warning which he has sent to thousands of persons:

8                 a. "This email does not authorize you to call me for
9
                     SOLICITATION. This email is not consent to TELEMARKET
10
                     my phone number. Any calls without express authorized
11
                     consent shall be treated as a violation of 47 USC §227."
12
            57. Plaintiff Ewing's phone number is not associated with a business and is
13

14
               used for personal, private residential use only. Notwithstanding, mixed use

15             phones are still fully protected.
16
            5 8. The text messages that Plaintiff received are solicitations encouraging the
17

18             purchase of Defendant's services.
19
            59. The text messages were sent by Defendant SYNERGY CAPITAL I, LLC.
20

21
               The text messages were sent at Defendant SYNERGY CAPITAL I, LLC 's

22             direction, command and control, that is, Defendant ordered each of its
23
               employees to respond to the calls that it made after it sent out the automatic
24

25             solicitations.
26

27

28     COMPL AINT    I. 47 U.S .C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE §1770(A)(22)(A)-
       22                                                                                                     24CV
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         60. Defendant SYNERGY CAPITAL I, LLC expressly and overtly controlled
2
             the exact generic content of the text messages.
3

4        61. The text messages, unlike the emails, did not address Plaintiff by name.
5
             Thus they were sent by, with and through an automatic telephone dialing
6

7
             system or robo-dialer.

8
         62. Said dialing system has the capacity to store and randomly generate phone
9
             numbers and to dial those numbers without human intervention.

11       63. Plaintiff Ewing never provided his phone number or his consent to
12
             Defendant SYNERGY CAPITAL I, LLC to receive any solicitation from
13

14           them or on their behalf. Prior to receiving the text messages, Plaintiff had

15
             never visited any location or internet web page owned, used, or controlled
16
             by Defendant SYNERGY CAPITAL I, LLC.
17

18       64. The unauthorized solicitation telephone text messages that Plaintiff
19
             received from Defendant, as alleged herein, have harmed Plaintiff Ewing in
20

21
             the form of annoyance, nuisance, and invasion of privacy, and disturbed the

22           use and enjoyment of his phone, in addition to the wear and tear on the
23
             phone's hardware (including the phone's battery) and the consumption of
24

25           memory on the phone.
26

27

28
      COMPLAINT I . 47 U.S.C. §227 (TCPA)   2. PC §637.2 1632.7 (CIPA) 3. C IVI L CODE§ l 770(A)(22)(A) -
      23                                                                                                    24CV
     Case 3:24-cv-00206-AGS-SBC Document 1 Filed 01/31/24 PageID.24 Page 24 of 38



          65. Section 310.3(b) of the TSR prohibits providing substantial assistance or
2
             support to telemarketers when that person knows or consciously avoids
3

4            knowing that the seller or telemarketer is engaged in any act or practice that
5
             violates the TSR. United States v. Dish Network LLC, No. 09-3073, 2017
6

7
             U.S. Dist. LEXIS 85543, at *299 (C.D. Ill. June 5, 2017)

8         66. The phone calls placed to Plaintiffs cellular telephone were placed via an
9
             "automatic telephone dialing system," ("ATDS") as defined by 47 U.S.C.

II           §227 (a)(l) as prohibited by 47 U.S.C. § 227 (b)(l)(A). At one or more
12
              instance during these calls, Defendant SYNERGY CAPITAL I, LLC utilize
13

14           an "aitificial or prerecorded voice" as prohibited by 47 U.S.C. §

15            227(b )(1 )(A).
16
          67. Defendant's calls constituted calls that were not for emergency purposes as
17

18            defined by 47 U.S.C. § 227(b)(l)(A).
19
          68. Defendant's calls were placed to telephone number assigned to a cellular
20

21
              telephone service for which Plaintiff incurs a charge for incoming calls

22            pursuant to 47 U.S.C. § 227(b)(l).
23
          69. Plaintiff is not a customer of Defendant's services and has never provided
24

25            any personal information, including his cellular telephone number, to
26
              Defendant SYNERGY CAPITAL I, LLC for any purpose whatsoever. In
27

28     COMPLAINT I. 47 U.S.C. §227 (TC PA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE § I 770(A)(22)(A) -
       24                                                                                                    24CV
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               addition, Plaintiff told Defendant SYNERGY CAPITAL I, LLC at least
2
               once to stop contacting him and Plaintiff has been registered on the Do-Not-
3

4              Call Regist1y for at least thirty (30) days prior to Defendant SYNERGY
5
               CAPITAL I, LLC contacting him. Accordingly, Defendant SYNERGY
6

7
               CAP ITAL I, LLC never received Plaintiff "prior express consent" to

8
               receive calls using an automatic telephone dialing system or an artificial or
9
               prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §

11             227(b)(l)(A).9
12
            70. Plaintiff did not have a personal relationship with Defendant SYNERGY
13

14
               CAPITAL I, LLC at any point in time. 10

15
            71. Defendant SYNERGY CAPITAL I, LLC did not make the telephone
16
               solicitations in error.
17

18          72. When Plaintiff answered calls from Defendant SYNERGY CAPITAL I,
19
               LLC, he heard a prerecorded message and had to wait on the line to be
20

21
               transferred to a live representative after pressing" l."

22          73. In other words, offers "that are part of an overall marketing campaign to sell
23
               prope1ty, goods, or services constitute" telemarketing under the TCPA. See
24

25

26

27     9
        21-cv-01204-H-WVG at PagelD.4 in ECF No. I , Benitez vs. United Debt Settlement, LLC.
       10
         2 I-cv-0 I 123
28
       COMPLAINT I . 47 U.S.C. §227 (TCPA) 2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE§ I 770(A)(22)(A) -
       25                                                                                                 24CV
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             In re Rules and Regulations Implementing the Telephone Consumer
2
             Protection Act of 1991, 18 FCC Red. 14014, ~ 136 (2003).
3

4        74.lf a call is not deemed telemarketing, a defendant must nevertheless
5
             demonstrate that it obtained the plaintiffs prior express consent. See In the
6

7
             Matter of Rules and Regulations Implementing the Tel. Consumer Prot. Act

8            of 1991, 30 FCC Red. 7961, 7991-92 (2015) (requiring express consent "for
9
             non-telemarketing and non-advertising calls").
10

11        75.The Honorable Chief Judge Dana M. Sabraw has ruled, in Gross vs. GG
12
             Homes, in the Southern District of California, that the US Supreme Court's
13

14
             ruling in Duguid vs. Facebook does not apply at the motion to dismiss stage

15           of the litigation, but it is more properly applied at the Rule 56 MSJ stage.
16
          76. Plaintiff has never done business with Defendant or any of its employees.
17

18        77. Defendant's initial portion of each call shown above, was a violation of 47
19
              USC §227(b)( 1)(A) because it was initially a prerecorded artificial voice.
20

21
              That means the test of whether an ATDS was used is not relevant at this

22            time.
23
          78. The Complaint alleges 11 of the 13 telephone calls violated of CLRA - Cal.
24

25            Civ. Code § l 770(a)(22)(A), but not the text messages sent without consent.
26

27

28     COMPLAINT I. 47 U.S.C. §227 (TC PA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE§ l 770(A)(22)(A)-
       26                                                                                                  24CV
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            Since Plaintiff demanded that Defendant stop calling at the end of the first
2
            call, then Plaintiff asserts a CLRA violation on 11 of the calls alleged herein.
3

4        79. Billions of illegal and harassing telemarketing calls are made to Americans
5
            each month. But for people like Plaintiff, it would be tens of billions of
6

7           illegal and harassing telemarketing calls. Parasitic criminal organizations

8            like Defendant need to be put out of business in order to stop this infection
9
            called telemarketing. Most Americans receive more spam texts and more
10

11          telemarketing calls than they do communications from friends and family.
12
         80. Defendant SYNERGY CAPITAL I, LLC, through its employee Brandon
13

14          Cimorelli and others, called Plaintiff to sell its loan products. The calls were

15
             not placed by an unknown third party. Defendant physically initiated the
16
             calls and physically sent the text message with their auto dialing software
17

18           and equipment.
19
         81. Since Plaintiff registered his personal private cellular phone, 619-719-9640,
20

21
             on www.donotcall.gov more than 31 days prior to the first call and the first

22           text from Defendant, then Defendant's failure to scrub their calling lists
23
             against the DNC is a violation of 27 USC §227(c).
24

25

26

27

28    COMPLAI NT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE§ I 770(A)(22)(A) -
      27                                                                                                   24CV
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         82. Defendant's illegal calls and illegal texts were and are the cause of Plaintiff
2
             damages, including statutory damages, which have been held to be sufficient
3

4            damage and sufficient injury to pass A1ticle III standing.
5
         83.Defendant called Plaintiffs cellular telephone number, using an automatic
6

7
             telephone dialing system with a prerecorded artificial voice message

8            introduction, without Plaintiffs prior express written consent, by robo-
9
             dialing Plaintiffs DNC registered phone number, devoid of any pre-existing
IO

II           or established business relationship. Fmther, Defendant continued to
12
             seriously and substantially harass and annoy Plaintiff after Defendant was
13

14
             expressly and explicitly told to cease and desist. Defendant would not know

15           concrete injury even if it were hit by a ton of concrete bricks.
16
          84. Since Defendant has failed to provide a copy of its DNC policies and
17

18           training procedures, within 30 days, then Defendant has violated the FCC
19
             and FTC regulations that are incorporated into 27 USC §227.
20

21
                                 FIRST CLAIM FOR RELIEF
                              Telephone Consumer Protection Act
22                      (Violation of 47 U.S.C. § 227(b)(l)(A) and (c)(S))
23                     (Against Defendant SYNERGY CAPITAL I, LLC)
24

25        85. Plaintiff Ewing repeats and realleges paragraphs 1 through 84 of this
26
             Complaint and incorporates them by reference.
27

28     COMPLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE§ l 770(A)(22)(A) -
       28                                                                                                  24CV
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         86. The TCPA's implementing regulation, 47 C.F.R. § 64.1200(c), provides
2
             that "[n]o person or entity shall initiate any telephone solicitation" to " [a]
3

4            residential telephone subscriber who has registered her or her telephone
5
             number on the national do-not-call registry of persons who do not wish to
6

7
             receive telephone solicitations that is maintained by the federal

8            government."
9
          87. Any "person who has received more than one telephone call within any 12-
10

11           month period by or on behalf of the same entity in violation of the
12
             regulations prescribed under this subsection may" may bring a private action
13

14
              based on a violation of said regulations, which were promulgated to protect

15            telephone subscribers' privacy rights to avoid receiving telephone
16
              solicitations to which they object. 47 U.S.C. § 227(c).
17

18        88. Defendant SYNERGY CAPITAL I, LLC violated 47 C.F.R. § 64.1200(c)
19
              by initiating, or causing to be initiated, telephone solicitations to telephone
20

21
              subscribers such as Plaintiff and the Do Not Call Registry participants

22            (including Ewing) who registered their respective telephone numbers on the
23
              National Do Not Call Registry, a listing of persons who do not wish to
24

25            receive telephone solicitations that is maintained by the federal government.
26

27

28     COM PLA INT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE§ I 770(A)(22)(A) -
       29                                                                                                    24CV
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         89. Defendant SYNERGY CAPITAL I, LLC violated 47 U.S.C. § 227(c)(5)
2
             because Plaintiff received more than one telephone text message in a 12-
3

4            month period made by or on behalf of Defendant SYNERGY CAPITAL I,
5
             LLC in violation of 47 C.F.R. § 64.1200, as described above.
6

7
          90. Defendant SYNERGY CAPITAL I, LLC failed to obtain any prior express

8            consent that included, as required by 47 C.F.R. § 64.1200(f)(8)(i), a "clear
9
             and conspicuous" disclosure informing the person signing that:
10

11                   (A) By executing the agreement, such person authorizes the seller to
                         deliver or cause to be delivered to the signatory telemarketing text
12
                         messages using an automatic telephone dialing system; and
13

14
                     (B) The person is not required to sign the agreement (directly or
                         indirectly), or agree to enter into such an agreement as a condition
15                       of purchasing any property, goods, or services.
16
          91. As a result of Defendant's conduct as alleged herein, Plaintiff suffered
17

18            actual damages and, under section 47 U .S.C. § 227(c), is entitled, inter alia,
19
              to receive up to $500 in damages for such violations of 4 7 C.F .R. § 64.1200.
20

21
          92. Defendant SYNERGY CAPITAL I, LLC used an ATDS to both send text

22            messages and to dial Plaintiffs phone number to play its artificial
23
              prerecorded voice message.
24

25

26

27

28     COMPLA INT I . 47 U.S.C. §227 (TCPA)   2. PC §637.2 I 632.7 (CIPA) 3. CIVIL CODE § I 770(A)(22)(A) -
       30                                                                                                     24CV
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         93. By sending unsolicited text messages to Plaintiff's cellular telephone
2
             without prior express consent, and by utilizing an ATDS, Defendant
3

4            SYNERGY CAPITAL I, LLC violated 47 U.S.C. § 227(b)(l)(A)(iii).
5
         94. To the extent Defendant's misconduct is determined to be willful and
6

7
             knowing, the Com1 should, pursuant to 47 U.S.C. § 227(c)(5), treble the

8            amount of statutory damages recoverable by Plaintiff.
9
          95. Defendant SYNERGY CAPITAL I, LLC. violated 47 USC §227(b)(l)(A)
10

II           by using an a11ificial prerecorded voice message and by sending generic
12
             unsolicited text messages with an ATDS, for which Plaintiff is entitled to
13

14
             $500 for each negligent violation and $1500 for each willful or knowing

15           violation.
16
          96. 47 C.F.R. § 64.1200(e), provides that§ 64.1200(c) and (d) "are applicable
17

18            to any person or entity making telephone solicitations or telemarketing calls
19
              to wireless telephone numbers to the extent described in the Commission's
20

21
              Report and Order, CG Docket No. 02-278, FCC 03-153, 'Rules and

22            Regulations Implementing the Telephone Consumer Protection Act of
23
              1991. "' The Rep011 and Order, in turn, provides as follows:
24

25                   "The Commission's rules provide that companies making telephone
26
              solicitations to residential telephone subscribers must comply with time of
27

28     COMPLAINT I. 47 U. S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (C IPA) 3. C IVIL CODE§ I 770(A)(22)(A) -
       31                                                                                                     24CV
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            day restrictions and must institute procedures for maintaining do-not-call
2
            lists. For the reasons described above, we conclude that these rules apply to
3

4           calls made to wireless telephone numbers. We believe that wireless
5
            subscribers should be afforded the same protections as wireline subscribers."
6

7
         97. 47 C.F.R. § 64.1200(d) further provides that "[n]o person or entity shall

8           initiate any call for telemarketing purposes to a residential telephone
9
            subscriber unless such person or entity has instituted procedures for

11          maintaining a list of persons who request not to receive telemarketing call
12
            made by or on behalf of that person or entity. The procedures instituted must
13

14
            meet the following minimum standards:

15                 (1) Written policy. Persons or entities making calls for telemarketing
16
                        purposes must have a written policy, available upon demand, for
17

18                      maintaining a do-not-call list.
19
                   (2) Training of personnel engaged in telemarketing. Personnel
20

21
                        engaged in any aspect of telemarketing must be informed and

22                      trained in the existence and use of the do-not-call list.
23
                   (3) Recording, disclosure of do-not-call requests. If a person or entity
24

25                      making a call for telemarketing purposes (or on whose behalf such
26
                        a call is made) receives a request from a residential telephone
27

28     COMPLAINT   I. 47 U.S.C. §227 (TCPA)   2 . PC §637.2 / 632.7 (CIPA) 3. C IVIL CODE§ 1770(A)(22)(A) -
       32                                                                                                     24CV
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                        subscriber not to receive calls from that person or entity, the
2
                        person or entity must record the request and place the subscriber's
3

4                       name, if provided, and telephone number on the do-not-call list at
5
                        the time the request is made. Persons or entities making calls for
6

7
                        telemarketing purposes (or on whose behalf such calls are made)

8
                        must honor a residential subscriber's do-not-call request within a
9
                        reasonable time from the date such request is made. This period
10

11                      may not exceed thirty days from the date of such request . . .
12
                   (4) Identification of sellers and telemarketers. A person or entity
13

14                      making a call for telemarketing purposes must provide the called

15
                        party with the name of the individual caller, the name of the
16
                        person or entity on whose behalf the call is being made, and a
17

18                      telephone number or address at which the person or entity may be
19
                        contacted. The telephone number provided may not be a 900
20

21
                        number or any other number for which charges exceed local or

22
                        long-distance transmission charges.
23
                    (5) Affiliated persons or entities. In the absence of a specific request
24

25                      by the subscriber to the contrary, a residential subscriber's do-not-
26
                        call request shall apply to the particular business entity making the
27

28     COMPLAINT   1. 47 U.S.C. §227 (TCPA)   2. PC §637.2 I 632.7 (C IPA) 3. CIVIL CODE§ l 770(A)(22)(A) -
       33                                                                                                     24CV
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                        call (or on whose behalf a call is made), and will not apply to
2
                        affiliated entities unless the consumer reasonably would expect
 3

4                       them to be included given the identification of the caller and the
 5
                        product being advertised.
 6

 7                  (6) Maintenance of do-not-call lists. A person or entity making calls

 8
                        for telemarketing purposes must maintain a record of a consumer's
9
                        not to receive further telemarketing calls. A do-not-call request
10

11                      must be honored for 5 years from the time the request is made.
12
         98. Here, Defendant SYNERGY CAPITAL I, LLC sent Plaintiff Ewing
13

14           multiple unsolicited text messages after he had submitted valid " STOP" and

15
             "BYE" requests.
16
         99. As a result of Defendant's knowing and/or willful violations of 47 U.S.C. §
17

18           227 et seq., Plaintiff is entitled an award of $1 ,500.00 in statutory damages,
19
             for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
20

21
             U.S.C. § 227(b)(3)(C).

22
                                SECOND CLAIM FOR RELIEF
23                            Consumer Information Privacy Act
                        (Violation of CA Penal Code §632.7 and §637.2)
24
                      (Against Defendant SYNERGY CAPITAL I, LLC)
25
          I 00.     Plaintiff Ewing repeats and realleges paragraphs 1 through 84 of this
26

27           Complaint and incorporates them by reference.
28
      COMPLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIV IL CODE§ l 770(A)(22)(A) -
      34                                                                                                   24CV
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         l 0 1.     The foregoing acts and omissions of Defendant SYNERGY
2
             CAPITAL I, LLC constitute numerous and multiple knowing and/or willful
3

4            violations of California's Invasion of Privacy Act. There is no claim for any
5
             PC §632 land-line violation in the lawsuit.
6

7
         102.       As a result of Defendant's knowing and/or willful violations of PC

8            §632.7 and §637.2, Plaintiff is entitled to statutory damages of$5,000 per
9
             call that was illegally recorded without Plaintiffs knowledge or consent.
10

11       103.        Plaintiff is also entitled to and seeks injunctive relief prohibiting such
12
             conduct in the future.
13

14
                               THIRD CLAIM FOR RELIEF
                               Consumer Legal Remedies Act
15                      (Violation of CA Civil Code §1770(a)(22)(A))
16                    (Against Defendant SYNERGY CAPITAL I, LLC)
17

18        104.       Plaintiff Ewing repeats and realleges paragraphs 1 through 84 of this
19
              Complaint and incorporates them by reference.
20

21
          105.        Defendant SYNERGY CAPITAL I, LLC used and employed an

22            artificial voice, prerecorded message, without consent or permission in
23
              advance, to initiate each call to Plaintiff. Defendant was not selling loans or
24

25            mo1tgages.
26

27

28     COMPLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632 .7 (CIPA) 3. C IVIL CODE § I 770(A)(22)(A) -
       35                                                                                                     24CV
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         106.        Plaintiff suffered harm by Defendant's violation of California Civil
2
             Code §1770(a)(22)(A), inter alia, through the loss of use of his phone during
3

4            each call as well as annoyance and harassment caused, proximately and
5
             actually, by Defendant SYNERGY CAPITAL I, LLC. Damages of$2500
6

7
             per call for 11 of the 13 calls are hereby requested based on the harassment

8            and civil stalking engaged in by Defendant.
9
          107.      Defendant's acts of unfair competition include, but are not limited to,
10

11           the following: (1) directly violated the TCPA at 47 USC §227(c) and its
12
             regulations at 4 7 C.F .R. §64.1200(c )(2), by engaging in a pattern or practice
13

14
             of initiating telephone solicitations to Plaintiffs residential telephone, whos

15           telephone number was listed on the National Do Not Call Registry, and (2)
16
             directly violated 47 C.F.R. §64.1200(a)(2) and 47 USC §227(b)(l)(B), by
17

18           engaging in a pattern or practice of initiating telephone solicitations to
19
             Plaintiffs residential telephone line, using artificial or prerecorded voices to
20

21
             deliver a message without the prior express consent of the called party and

22            where the call was not initiated for emergency purposes or exempted by rule
23
              or order of the Federal Communications Commission under 47 USC
24

25            §227(b)(2)(B).
26

27

28     COMPLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE§ 1770(A)(22)(A) -
       36                                                                                                 24CV
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         108.       Defendant has directly violated California Business & Professions
 2
             Code section l 7592(c)(l) by making or causing to be made telephone calls
 3

 4           to Plaintiffs California telephone number listed on the National Do Not Call
 5
             Regist1y and seeking to rent, sell, promote, or lease goods or services
 6

 7           (namely usUiy interest rate loans without a CFL license) during those calls.
 8       109.        Plaintiff is entitled to, and hereby seeks, both punitive and exempla1
 9
             damages to send a clear message to Defendant and others like Defendant to
10

II           cease and desist from violation of the law.
12
         110.        Plaintiff is also entitled to and seeks injunctive relief prohibiting
13

14           such conduct in the future.

15
                                     PRAYER FOR RELIEF
16
      WHEREFORE, Plaintiff Ewing, individually, prays for the following relief:
17

18           a) Damages as provided by statute and in the discretion of the Cou1t;
19
             b) An award of actual and/or statutory damages and costs plus treble
20

21           damages if willful or knowing violations are shown;
22
             c) An order declaring that Defendant's actions, as set out above, violate the
23
                TCPA;
24

25          d) As a result of Defendant's negligent violations of 47 U.S.C. §227(b)(1)
26
             and §227(c)(5), Plaintiff is entitled to and requests $500 in statutory
27

28
      COMPLAINT I. 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIV IL CODE § l770(A)(22)(A)-
      37                                                                                                  24CV
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             damages, for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B)
 2
             plus treble damages ($1,500 per call and per text), a total of $3,000 per call
 3

 4           under the TCPA;
 5
             e) An injunction requiring Defendant to cease all unsolicited calling activity
 6

 7            that violates the TSR, the FTC Act and the TCP A, and to otherwise protect

 8           the interests Plaintiff Ewing;
 9
             f) $5,000 for each call the was illegally recorded without Plaintiff s consent,
10

II           g) $2,500 for each of the 11 calls that contained a pre-recorded artificial
12
      voice message at the beginning of each call.
13

14           h) for exemplary and punitive damages against Defendant in an amount to

15
             be determined with exactness at trial herein if wan-anted by existing law; an
16
             i) Such further and other relief as the Court deems just and proper.
17

18                                          JURY DEMAND
19
             Plaintiff Ewing requests a jury trial.
20

21                  Dated this 31st day of January, 2024.

22

23

24

25

26

27

28
      COMPLAINT I . 47 U.S.C. §227 (TCPA)   2. PC §637.2 / 632.7 (CIPA) 3. CIVIL CODE § I 770(A)(22)(A) -
      38                                                                                                    24CV
